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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No.17-cr-00008-WJM-1

UNITED STATES OF AMERICA,

                     Plaintiff,

v.

1.     GUY M. JEAN-PIERRE,

                     Defendant.


     DEFENDANT JEAN-PIERRE’S UNOPPOSED MOTION FOR TEMPORARY
              REMOVAL OF HIS GPS MONITORING DEVICE


       THE DEFENDANT, GUY M. JEAN-PIERRE, by and through his attorney, Clifford

J. Barnard, hereby moves this Court to authorize U.S. Probation to remove Mr. Jean-

Pierre’s GPS monitoring device for a short period of time so that he can have an MRI

performed on his right foot. As grounds for this motion, Mr. Jean-Pierre states as follows:

       1.     As a condition of bond, Mr. Jean-Pierre is wearing a GPS monitoring device.

       2.     On March 14, 2019, Dr. Katherine Van Stedum on behalf of Dr. Lorenzo

Rodriguez ordered that an MRI be performed on Mr. Jean-Pierre’s right foot. See attached

Exhibit 1, “Outpatient Imaging Order.”

       3.     In order to have the MRI performed, the GPS monitoring device will have to

be removed while the MRI procedure is being performed.

       4.     Mr. Jean-Pierre originally scheduled an MRI for Friday, March 28, 2019 at

Saint Joseph Hospital at 1375 E. 19th Avenue, Denver, Colorado 80218 (see attached

Exhibit 1, “Outpatient Imaging Order”) but the MRI has now been rescheduled for Friday,
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April 5, 2019 at 1:15 p.m. (which can be rescheduled for Friday, April 12, 2019 if

necessary).

      5.      When the GPS monitoring device is removed by P.O. Carlos Morales, Mr.

Jean Pierre would then proceed to the nearby Saint Joseph Hospital to have the MRI

performed and Mr. Jean-Pierre would then return to P.O. Morales’s office to have the GPS

monitoring device replaced on his ankle.

      6.      Defense counsel has discussed this motion with A.U.S.A. Jeremy Sibert who

stated that the government does not oppose this request for temporary removal of Mr.

Jean-Pierre’s GPS monitoring device.

      WHEREFORE, Mr. Jean-Pierre requests that this Court authorize U.S. Probation

to remove his GPS monitoring device for a short period of time so that he can have an MRI

performed on his right foot.

      DATED this 3rd day of April, 2019.
                                                   Respectfully submitted,

                                                   s/Clifford J. Barnard

                                                   Clifford J. Barnard
                                                   Clifford J. Barnard, Attorney at Law
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                                                   Attorney for Defendant Jean-Pierre


                               CERTIFICATE OF SERVICE

      I hereby certify that on this 3rd day of April, 2019, I electronically filed the foregoing

Defendant Jean-Pierre’s Unopposed Motion for Temporary Removal of His GPS Monitoring


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Device with the Clerk of the Court using the CM/ECF system which will send notification

of such filing to the following e-mail address(es):

       A.U.S.A. Jeremy Sibert             jeremy.sibert@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following non

CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-

participant’s name:

       Marcelo Dominguez de Guerra                Via U.S. Mail
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       2765 S. Federal Blvd.
       Denver, CO 80236

                                                  s/Clifford J. Barnard

                                                  Clifford J. Barnard
                                                  Attorney for Defendant Jean-Pierre




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